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    6                        UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
    7
    8   MARY ALICE NAJAR,                       ) CIVIL NO. 2:20-cv-05440-JLS-PLA
    9      Plaintiff,                           )
                                                ) JUDGMENT
   10
                    vs.                         )
   11                                           )
   12
        KILOLO KIJAKAZI, Acting                 )
        Commissioner of Social Security,        )
   13                                           )
   14         Defendant.                        )
                                                )
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   16
              The Court hereby approves the parties’ Stipulation to Voluntary Remand
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        Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
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        (“Stipulation to Remand”) lodged concurrent with this Judgment of Remand, IT IS
   19
        HEREBY ORDERED, ADJUDGED AND DECREED that the above-captioned
   20
        action is remanded to the Commissioner of Social Security for further proceedings
   21
        consistent with the Stipulation to Remand.
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   23
        DATED: November 08, 2021
   24                                         HONORABLE JOSEPHINE L. STATON
   25                                         UNITED STATES DISTRICT JUDGE
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